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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, ex rel.
TEITELBAUM,
Civil Action No. 04-12450-MEL
Plaintiffs,
v.
ALASKA AIRLINES, et al,
Defendants.

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS BY ALASKA AIRLINES,
INC., AMERICAN AIRLINES, INC., AIRTRAN AIRWAYS, INC., CONTINENTAL
AIRLINES, INC., HAWAIIAN AIRLINES, INC., SOUTHWEST AIRLINES CO., AND
JETBLUE AIRWAYS CORPORATION
Defendants Alaska Airlines, Inc., American Airlines, Inc., AirTran Airways, Inc.,
Continental Airlines, Inc., Hawaiian Airlines, Inc., Southwest Airlines Co., and JetBlue Airways
Corporation (the “Domestic Defendants”)' submit this memorandum in support of their joint
motion to dismiss the gui tam complaint in this action.
STATEMENT OF THE CASE
This motion involves a complaint filed by relator Jennifer L. Teitelbaum (“relator”)
pursuant to 31 U.S.C. § 3730, the qui tam or “whistleblower provision” of the False Claims Act,
31 U.S.C. §§ 3729-33 (“FCA”). The original complaint was filed on November 18, 2004

(docket # 1). The United States declined intervention on September 14, 2005, and the complaint

was unsealed the following day (docket ## 12 & 13). On November 17, 2005 the relator filed

' Defendant Hawaiian Airlines, Inc. joins in this motion, but has also filed a separate supplemental motion
to dismiss on other, additional grounds.

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her present amended complaint (docket # 17).

This motion is filed on behalf of the Domestic Defendants. The amended complaint’s
allegations relate to specified fees and charges assessed by the Domestic Defendants upon their
passengers as mandated by federal law. See amended complaint, [§ 2; 5-12. One category of
these fees is “Passenger Facility Charges” (“PFC’s”) which the airlines are required to collect
under 49 U.S.C. § 40117(a)(3), (b), and (e) and related Department of Transportation (“DOT”)
regulations. These fees are used for eligible airport-related projects proposed by airport
authorities and/or state governments.

A second category of user fees at issue are “Security Service Fees” (“SSF’s”) which have
been mandated by the government since the September 11, 2001 tragedies. See 49 U.S.C.

§ 44940. These fees are designed to help finance the costs of enhanced airport and airline
security. The amended complaint also contains allegations relating to immigration user fees,
agricultural inspection fees, and some unspecified foreign charges. See amended complaint, 2.

Reduced to its fundamentals, the amended complaint asserts two central allegations
against the Domestic Defendants. First, it alleges that they collected certain government-
mandated fees in conjunction with the sale of nonrefundable tickets, but failed to make
appropriate refunds of those government-mandated fees to the customers who did not utilize, and
thereby forfeited, the nonrefundable tickets. As the Domestic Defendants demonstrate below,
this is not a viable allegation under the FCA, because the FCA is only concerned with efforts to
defraud the federal government, not claims made by private airline customers. Second, the
amended complaint further alleges that the Domestic Defendants failed to pay to the federal

government the appropriate amounts of these fees and charges they had collected from their

customers.
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For a plethora of reasons, the amended complaint should be dismissed in its entirety.
First, all of the allegations asserted in the amended complaint are based upon information that
has previously been identified in the public record. The False Claims Act “is not intended to
create windfalls for people with secondhand knowledge of the wrongdoing.” United States ex
rel. Kinney v. Stoltz, 327 F.3d 671, 674 (8th Cir. 2003). The “public disclosures” in this case
therefore foreclose the Court’s jurisdiction over this matter, under 31 U.S.C. §§ 3730(e)(4)(A) &
(B), unless relator can establish that she is an “original source.” However, relator has failed to
allege that she qualifies as an original source and her claims thus are jurisdictionally barred.

Even if this Court had jurisdiction, other defects in the amended complaint mandate its
dismissal. The vague and conclusory allegations that comprise the amended complaint cannot
satisfy the stringent particularity pleading requirements imposed by Federal Rule of Civil
Procedure 9(b). Furthermore, the entire amended complaint must be dismissed because it alleges
nothing more than a failure by the Domestic Defendants to comply with regulatory schemes
established by DOT and the other federal agencies regarding the fees at issue. It is well
established that such allegations alone do not constitute violations of the FCA. In addition,
Counts IV through IX, predicated upon common law causes of action, must be dismissed with
prejudice because a relator has no standing under the FCA to assert common law causes of
action. Equally defective and subject to dismissal are any allegations relating to the purported
failure of the Domestic Defendants to make refunds to customers or make appropriate payments
to foreign governments, since the FCA is only concerned with defrauding the United States
government.

Likewise, Counts I, II, III and IV should be dismissed because they fail to assert viable
FCA claims under 31 U.S.C. § 3729(a)(1)-(3) and (7). The amended complaint is also defective,

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at least in part, because it includes claims barred by the FCA’s statute of limitations provision.
Accordingly, the Domestic Defendants respectfully request that this Court dismiss all of

relator’s claims with prejudice.

I. THE FCA’S PUBLIC DISCLOSURE BAR MANDATES DISMISSAL FOR LACK
OF SUBJECT MATTER JURISDICTION

The amended complaint asserts two core allegations: (a) the Domestic Defendants
refused to refund to its customers the fees and taxes they collected on unused nonrefundable
tickets; and (b) the Domestic Defendants failed to fully pay the government the fees and taxes
they collected from airline customers. Because both of these core allegations were publicly
disclosed years ago, this Court is deprived of jurisdiction over this action pursuant to 31 U.S.C.
§ 3730(e)(4)(A).’

As this Court has noted: “The public disclosure bar is designed, in part, to prevent
parasitic lawsuits — actions in which individuals leech off publicly available information in an
effort to cash in on the generous awards available under the False Claims Act.” United States ex
rel. LeBlanc v. Raytheon Co., 874 F. Supp. 35, 41 (D. Mass), aff'd, 62 F.3d 1411 (1st Cir. 1995),
cert. denied, 516 U.S. 1140 (1996); see also United States ex rel. McKenzie v. Bell South
Telecomm., Inc., 123 F.3d 935, 940 (6th Cir. 1997), cert. denied, 522 U.S. 1077 (1998). This.

Court most recently addressed the elements of the § 3730(e)(4)(a) “public disclosure bar” in

? Section 3730(e)(4)(A) reads:

“No court shall have jurisdiction over an action under this section based upon the
public disclosure of allegations or transactions in a criminal, civil, or
administrative hearing, in a congressional, administrative, or Government
Accounting Office report, hearing, audit or investigation, or from the news media,
unless the action is brought by the Attorney General or the person bringing the
action is an original source of the information.”

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United States ex rel. O’Keeffe v. Sverdup Corp., 131 F. Supp. 2d 87, 90-94 (D. Mass. 2001)
(Saris, J.).

The O’Keeffe Court established a three-part test for deciding "public disclosure"
challenges to gui tam complaints under 31 U.S.C. § 3730(e)(4)(A). See O’Keeffe, 131 F. Supp.
2d at 91. In applying the public disclosure bar, a court must determine whether (1) there has
been a public disclosure; (2) if so, whether the lawsuit is “based upon” the public disclosure; and
(3) if so, whether the relator is an “original source” of the information. Jd. at 91. All three of
these elements are satisfied in this case and therefore, dismissal is warranted pursuant to Rule
12(b)(6).

A. Public Disclosures Have Occurred

The first element of the O’Keeffe test is whether “there has been a public disclosure
within the meaning of the statute, that is, ‘in a criminal, civil or administrative hearing; or
congressional, administrative or Government Accounting Office report, hearing, audit, or
investigation or from the news media.’” Jd. at 91. The “statute’s catalogue of sources in which a
public disclosure can occur is exhaustive” and includes judicial proceedings, government records
and reports, press releases and news media. Jd.; 31 U.S.C. § 3730(e)(4)(A). It is well-settled
that a public disclosure can occur through state lawsuits as well as in federal litigation. United
States ex rel. Hafter v. Spectrum Emergency Care, 190 F.3d 1156, 1161, n. 6 (10th Cir. 1999); A-
1 Ambulance Serv., Inc. v. California, 202 F.3d 1238, 1243-4 (9th Cir.), cert. denied, 529 U.S.
1099 (2000).

Transactions are deemed publicly disclosed when they are placed in the “public domain.”
United States ex rel. Doe v. John Doe Corp., 960 F.2d 318, 322 (2d Cir. 1992). It is well
established that any information in the public domain can contribute to the overall context of a

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“public disclosure.” United States ex rel. Findley v. FPC-Boron Employees’ Club, 105 F.3d 675,
681-82 (D.C. Cir.), cert. denied, 522 U.S. 865 (1997) (various reports and public statements
constituted sufficient public disclosures); Doe, 960 F.2d at 322. Therefore, it is not necessary for
all allegations to appear in a single document for a public disclosure under the FCA to have
occurred. Rather, a district court can quite appropriately extract from each public disclosure
facets corresponding to some (or on occasion all) elements of a qui tam complaint’s allegations.

In other words, the allegations and transactions publicly disclosed do not have to be the
“mirror image” of those asserted in the qui tam complaint, as long as the essential elements are
disclosed and the allegations are “substantially similar.” Springfield Terminal Ry. Co. v. Quinn,
14 F.3d 645, 654 (D.C. Cir. 1994); see also United States ex rel. Fine v. Advanced Scis., Inc., 99
F.3d 1000, 1005 (10th Cir. 1996). The “X+Y=Z” test first articulated in Springfield, 14 F.3d at
654, and adopted by Judge Saris in O ‘Keefe best explains this concept. Under the test, a public
disclosure has demonstrated fraud if it identified (X) “a misrepresented state of facts” and (Y) a
“true state of facts” (i.e., the essential elements). If so, then “Z”, or the conclusion that fraud has
been committed, can be inferred. O’Keeffe, 131 F. Supp. 2d at 94.

Here, the public disclosures, as demonstrated below, clearly assert the two key
allegations of the amended complaint: (1) that the airlines had failed to make appropriate
refunds of PFC’s, SSF’s and other government-imposed charges to customers who failed to

utilize their nonrefundable tickets and (2) the Domestic Defendants failed to fully reimburse the

government for the fees and taxes collected from airline passengers.

(i) Allegations Relating to Failure to Make Refunds to Passengers Were Publicly
Disclosed

Relator’s first core allegation, refusal to make refunds of fees and taxes to airline

customers who fail to use nonrefundable tickets, has been publicly disclosed through several
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cases filed in both federal and state courts before the filing of the original complaint in this
action in November, 2004.’ For example, identical allegations to the instant complaint were
made in Brown, et al. v. Delta Air Lines, Inc., et al., 2004 U.S. Dist. Lexis 28508 (W.D. Okla.
Oct. 8, 2004).* In Brown, several class actions alleged that various airlines improperly had
declined to refund the PFC’s and SSF’s to passengers who failed to use their nonrefundable
tickets. These are the same allegations as the amended complaint. See amended complaint, 7 2;
5-12.

The allegations in the amended complaint were also publicly disclosed in the July 2004,
complaint served in Hayes v. Am. Airlines, Inc., CV-04-3231 (CBA)(JMA) (E.D.N.Y.), prior to
its removal to federal court. The Court may take judicial notice of this complaint, which is
attached hereto as Exhibit 2. The Hayes complaint also asserts the same allegations as are found
in the present amended complaint in this action — that the defendant airline failed to refund
security fees and PFC charges to customers who failed to use nonrefundable tickets.

A third public disclosure of the present allegations occurred in this Court, in Harrington,
et al. v. Delta Air Lines, Inc., Civil Action No. 04-12558-NMG (D. Mass.). This complaint was

filed on November 4, 2004, and the amended complaint was electronically filed with this Court

> As the Domestic Defendants demonstrate below at Section V, this allegation has no
applicability to the FCA because it alleges a liability to a private party, and not the government.
Nonetheless, we address this point out of an abundance of caution in the event it is deemed to
constitute an allegation of fraud purportedly predicated upon the FCA.

* The Court may take judicial notice of this decision which is attached to this brief as
Exhibit 1. In passing upon a motion to dismiss on “public disclosure” grounds, a district court
can take judicial notice of documents outside the record, including judicial proceedings,
government documents and newspaper accounts. See Fed. R. Ev. 201; United States ex rel.
Dingle v. Bioport Corp., 270 F. Supp. 2d 968, 971-3 (W.D. Mich. 2003), aff'd, 388 F.3d 209 (6th
Cir. 2004), cert. denied, _U.S.__, 125 S. Ct. 1708 (2005); see also Watterson v. Page, 987
F.2d 1, 3-4 (Ist Cir. 1993); Locicero v. Leslie, 948 F. Supp. 10, 12 (D. Mass. 1996).

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on May 31, 2005, by relator’s present counsel. In addition to alleging that airlines refused to
refund PFC’s and SSF’s, the District of Massachusetts complaint also contains similar
allegations respecting U.S. Customs user fees; “immigration user fees”; and agricultural
quarantine and inspection fees. For the Courts convenience, a copy of both the original and
amended complaints are attached to this brief as Exhibit 3. These are the identical allegations
contained in the present amended complaint. See original Harrington complaint at F{ 36-40;
amended complaint at Jf 5-12.

A further public disclosure occurred in December, 2002, when USTAR, an association of
travel agents, filed a complaint with the Federal Trade Commission, which is attached hereto as
Exhibit 4. In its FTC complaint, USTAR alleges that the air carriers refused to refund a variety
of fees and taxes to passengers who declined to use nonrefundable tickets, including “U.S.
Custom Fee, U.S. Immigration Fee, US APHIS Fee [i.e., Department of Agriculture inspection
fee], U.S. Passenger Facility Fee, U.S. Security Service Fee.” Jd. at J] 4, 6, 7 and 12. Once
again, these allegations are identical to those asserted in the amended complaint.

Therefore, the allegations related to failure to reimburse passengers for certain fees were
publicly disclosed prior to the filing of the original relator complaint in several federal court and
state court actions, and in one FTC public proceeding. As Judge Saris recognized, the term
“hearing,” as it is used in § 3730(e)(4)(A), has been interpreted to encompass federal, state, and
local administrative proceedings, including judicial proceedings, that are open and available to
the public. See O’Keeffe, 131 F. Supp. 2d at 91. Therefore, all of these statements qualify as

public disclosures under the bar.

(ii) Allegations that Defendants Did Not Pay the Government Were Publicly
Disclosed

The second allegation of relator’s complaint has also been in the public record for a
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period of years. For example, as early as July 1995, an article in Airports (attached hereto as
Exhibit 5)° reported threats by DOT and the Federal Aviation Administration (“FAA”) to airlines
regarding failure to remit to the designated airports all collected PFC’s. The article references a
July 10, 1995, notice to U.S. and foreign carriers regarding this problem. Resort to possible
criminal and civil sanctions is also mentioned. Eventually, in July 1999, the FAA issued
guidance to attack this problem in a document entitled “Passenger Facility Charge Audit Guide
for Air Carriers” (copy attached hereto as Exhibit 6). Section II E of the Guide deals with the
stringent procedures put in place to govern collection and remittance of PFC’s by the airlines.
See id. at 11-12. In August 2001, the FAA issued Order 5500.1 mandating further procedures
controlling the collection and remitting of PFC’s (a portion of which is attached hereto as Exhibit
7). These allegations also appear in the USTAR Complaint. See Ex. 4 at] 8.°

Government reports and news media both can be judicially noticed and qualify as public
disclosures. See Fed. R. Ev. 201; O ‘Keeffe, 131 F. Supp. 2d at 91. The release by Airports and
the FAA therefore qualify as public disclosures under the FCA. Thus the first prong of O Keeffe
has been satisfied.

B. The Qui Tam Complaint Is Based Upon Previous Public Disclosures

Once it is determined that “allegations or transactions” have been publicly disclosed,

> Airports is a weekly newsletter published by Aviation Week, a division of The
McGraw-Hill Companies. It qualifies as “news media” under § 3730(e)(4)(A). See United

States ex rel. Alcohol Found., Inc. v. Kalmanovitz Charitable F. ound., 186 F. Supp. 2d 458, 463
(S.D.N.Y. 2002).

° In fact, the PFC fees that are allegedly owed to the government are not even owed to
the federal government, but state airport authorities. There is a real question as to whether even
failure to make payments to a non-federal state or airport authority could serve as the basis for a
FCA cause of action. See, e.g., United States ex rel. Totten v. Bombardier Corp., 380 F.3d 488
(D.C. Cir. 2004), cert. denied, US. __» 125 S. Ct. 2257 (2005).

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O'Keeffe next requires that the district court determine whether the complaint is “based upon”
that publicly-disclosed information. Although a minority of courts require that the relator
“actually derive” her information from the public disclosure, a dominant majority of courts — that
include this Court in O’Keeffe — require only a simple finding that “the supporting allegations are
similar to or ‘the same as those that have been publicly disclosed . . . regardless of where the
relator obtained his information.’” (quoting Doe v. John Doe Corp., 960 F.2d 318, 324 (2d Cir.
1992)) (emphasis added by Judge Saris). Jd. at 92. Therefore the “based upon” standard is
satisfied if the complaint’s allegations are “supported by” or consistent with the public
disclosures, but not necessarily derived from those disclosures. Jd. at 92-3; see also Minnesota
Ass'n of Nurse Anesthetists v. Allina Health Sys. Corp., 276 F.3d 1032, 1044-45 (8th Cir.), cert.
denied, 537 U.S. 944 (2002)(“whenever the allegations in the suit and in the disclosure are the
same, ‘regardless of where the relator obtained his information’,” the qui tam as a matter of law
is “based upon” a public disclosure).

Relator’s complaint therefore must be dismissed if the allegations are substantially
similar to information that has already been disclosed. See id. As described above, relator’s
allegations that PFC’s, SSF’s, customs’ fees, immigration fees, agricultural fees and other
government-imposed charges have not been returned to airline customers or appropriately
remitted to the government have been publicly disclosed in prior lawsuits, government reports
and news media. Because the allegations are substantially similar to the publicly disclosed
information, the second prong of the O ‘Keefe test is satisfied.

C. The Relator Is Not an Original Source

Because it has been established that the amended complaint is “based upon” public
disclosures, as defined in 31 U.S.C. § 37 30(€)(4)(A), the Court must next determine whether,

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despite this disablement, relator is an “original source” of the public disclosures and thus not
thereby deprived of her jurisdictional standing. 31 U.S.C. § 3730(e)(4)(B); O'Keeffe, 131 F.
Supp. 2d at 93-94,”

In order to qualify as an original source under the statute, a relator must demonstrate
direct and independent knowledge of the publicly disclosed information upon which the
allegations are based. Jd. at 95-6. As a result, a relator cannot base her allegations on second-
hand information or information learned from other sources. Jd. at 96. Here, the relator wholly
fails to even allege that she is an original source of the information upon which the allegations
are based. Nor does relator allege that she “voluntarily provided the information to the
government before filing an action under [the FCA] which is based on the information.” 31
U.S.C. § 3730(e)(4)(B).

Relator’s failure to allege she is an “original source” is fatal to her FCA claims. As one
Circuit has recognized: “The False Claims Act is intended to encourage individuals who are
either close observers or involved in the fraudulent activity to come forward, and is not intended
to create windfalls for people with secondhand knowledge of the wrongdoing.” Kinney, 327
F.3d at 674. Or, as the Ninth Circuit tersely stated it, “A whistleblower sounds the alarm; he
does not echo it.” Hagood v. Sonoma County Water Agency, 81 F.3d 1465, 1475 (9th Cir), cert.
denied, 519 U.S. 865 (1996).

Relator therefore is not an original source. Because the relator’s complaint is “based

upon” information that already was publicly disclosed, and relator is not an original source, the

’ This section reads: “For purposes of this paragraph, ‘original source’ means an
individual who has direct and independent knowledge of the information on which the
allegations are based and has voluntarily provided the information to the Government before
filing an action under this section which is based on the information.”

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O'Keeffe three-part test is satisfied and the amended complaint should be dismissed with
prejudice on the basis of the “public disclosure bar.”

Il. ALL COUNTS OF THE COMPLAINT SHOULD BE DISMISSED

BECAUSE THEY LACK THE SPECIFICITY REQUIRED BY RULE 9(b).

This Court should dismiss all counts of the amended complaint because they fail to
comply with Fed. R.Civ. P. 9(b).°

A. Rule 9(b)'s Legal Standard.

Because the amended complaint asserts allegations predicated upon the FCA, it must
comply with Rule 9(b).? The purposes behind Rule 9(b) are "to discourage nuisance suits, to
prevent a plaintiff from sullying the reputation of a defendant with baseless allegations, and to
put a defendant on notice of the actions he must investigate and defend." United States ex rel.

Grynberg v. Alaska Pipeline Co., No. Civ. 95-725, 1997 WL 33763820, at *3 (D.D.C. Mar. 27,

1997).

In order to satisfy Rule 9(b)’s mandate, a qui tam complaint must “specify the time,
place, and content of the alleged false or fraudulent representations.” United States ex rel.
Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 226 (1st Cir.), cert. denied, U.S. _, 125

S. Ct. 59 (2004). "Blanket statements" of generalized, but unspecific, allegations are entirely

® Rule 9(b) reads: “In all averments of fraud or mistake, the circumstances constituting
fraud or mistake shall be stated with particularity. Malice, intent, knowledge, and other condition
of mind may be averred generally.”

? Clearly, on their face, Counts I-IV and VII are within the parameters of Rule 9(b). The
Domestic Defendants respectfully submit that the remaining Counts are embraced within Rule
9(b) as well. This is because all of the allegations contained in {1 1-50 are "averments of fraud."
These same paragraphs are re-pleaded in the subsequent Counts and, therefore, serve as the
foundation for those Counts. If Jf 1-50 violate Rule 9(b), as the Domestic Defendants assert,
then Counts V-VI and VIII-IX are defectively pled as well and must be dismissed.

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incompatible with Rule 9(b). United States ex rel. Totten v. Bombardier Corp., 139 F. Supp. 2d
50, 52 (D.D.C. 2001), rev'd on other grounds, 286 F.3d 542 (D.C. Cir. 2002). A qui tam relator
thus must identify “the time, dates, places, and identities” of the individuals involved in the fraud
or “‘the specifics in the documents prepared and submitted by the defendant to obtain the funding,
at the time the complaint is filed and prior to any additional discovery.” Karvelas, 360 F.3d at
230; PPM Am., Inc. v. Marriott Corp., 820 F. Supp. 970, 973 (D. Md. 1993) (specific documents
should be identified which contain allegedly false statements). This obligation to plead
allegations of fraud with specificity cannot be discharged by later discovery. Jd. at 231. In short,
plaintiffs are required to “describe the fraudulent conduct rather than merely make conclusory
allegations of fraud.” United States ex rel. Long v. SCS Bus. & Technical Inst., 999 F. Supp. 78,
89 (D.D.C. 1998), rev'd on other grounds, 173 F.3d 870 (D.C. Cir. 1999).

B. Rule 9(b) is Applicable to FCA Complaints.

“Rule 9(b) applies to all allegations of fraud, including actions brought pursuant to the
False Claims Act.” United States ex rel. DeCarlo v. Kiewit/AFC Enters., Inc., 937 F. Supp.
1039, 1049 (S.D.N.Y. 1996). “The legislative history of the 1986 FCA Amendments and the
Supreme Court’s interpretations of the statute further support the conclusion that FCA claims

involve ‘averments of fraud’ that must be pled with particularity under Rule 9(b).” Karvelas,

360 F.3d at 227.

C. The Complaint Fails to Satisfy Rule 9(b).

The amended complaint fails in every way to satisfy the Rule 9(b) standard. For
example, it is entirely silent as to what forms or records it alleges the Domestic Defendants were
required to submit to the government. Moreover, it fails to identify even one purported false

claim or false document submitted to the government. Rather, paragraph 41 simply asserts that

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the Domestic Defendants submitted “false or fraudulent statements and records,” while
paragraph 42 concludes that the Domestic Defendants “made or used false records or
statements.” These general, conclusory allegations are not supplemented with any specificity.

As one district court has noted: “[w]ithout citing a single false claim arising from an allegedly
false invoice, [plaintiff] has not met even a bare bones Rule 9(b) test.” United States ex rel.
Obert-Hong v. Advocate Health Care, 2001 WL 303692, at *2 (N.D. Ill. Mar. 28, 2001); see also
United States ex rel. Walsh v. Eastman Kodak Co., 98 F. Supp. 2d 141, 147-148 (D. Mass. 2000)
(same). As the First Circuit has explained, “liability under the False Claims Act requires a false
claim.” Karvelas, 360 F.3d at 232. See also, United States ex rel. Clausen v. Lab. Corp., 290
F.3d 1301, 1311 (11th Cir. 2002), cert. denied, 537 U.S. 1105 (2003) (evidence of an actual false
claim is “the sine qua non of a False Claims Act violation”).

In short, the amended complaint is completely devoid of even the most minimal
specificity required by Rule 9(b). “To pass muster under Rule 9(b), the complaint must allege
the time, place, speaker, and sometimes even the content of the alleged misrepresentation.”
Ouaknine v. MacFarlane, 897 F.2d 75, 79 (2d Cir. 1990). “Underlying schemes and other
wrongful activities that result in the submission of fraudulent claims are included in the
“circumstances constituting fraud or mistake’ that must be pled with particularity pursuant to

Rule 9(b).” Karvelas, 360 F.3d at 232.'° Pertinent individuals, dates, and facts regarding how

’° As the First Circuit noted in this Medicare fraud case, “[h]owever, the complaint never
specifies the dates or content of any particular false or fraudulent claim allegedly submitted for
reimbursement.... It provides no identification numbers or amounts charged in individual
claims... It does not-identify or describe the individuals involved in the improper billing or allege
with particularity any certification of compliance with federal regulations in order to obtain
payments.” Karvelas, 360 F.3d at 233. In addition, that court noted that the complaint failed to
identify one “piece of paper that was sent to the Government to obtain funding.” Jd. The same
(continued on next page)

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the fraud was effected must be pled in a qui tam complaint in order to satisfy Rule 9(b). United
States ex rel. King v. Alcon Labs., Inc., 2005 WL 20372, at *2-*3 (N.D. Tex. Jan. 4, 2005).!!

The Domestic Defendants can not even speculate as to how relator assumes they will be
able to prepare answers to the amended complaint's allegations without knowing what claims and
documents are at issue and why the amended complaint asserts these claims. Strict application
of Rule 9(b) is thus necessary to provide the Domestic Defendants with fair notice of the
allegations so that they may prepare an adequate defense. DiVittorio v. Equidyne Extractive
Indus., Inc., 822 F.2d 1242, 1247 (2d Cir. 1987). Since this basic standard has not been satisfied
to even the most minimal extent, the amended complaint should be dismissed with prejudice
pursuant to Rule 9(b) and 12(b)(6).'? See United States ex rel. Thompson v. Columbia/HCA
Healthcare Corp., 125 F.3d 899, 901 (5th Cir. 1997) (failure to satisfy Rule 9(b) warrants
dismissal under Rule 12(b)(6)); Alcon, 2005 WL 20372, at *3.

Hil. COUNTS V -IX MUST BE DISMISSED WITH PREJUDICE BECAUSE
RELATOR HAS NO STANDING TO ASSERT ANY COMMON LAW
CAUSES OF ACTION.

Under 31 U.S.C. § 3730(b), relator's statutory standing is limited to litigating fraudulent

is true of the present amended complaint.

"' Of course, allegations predicated upon the reverse false claims act provision (31
US.C. § 3729(a)(7)) likewise are averments of fraud and must satisfy the dictates of Rule 9(b).
See, e.g., United States ex rel. Vallejo v. Investronica, Inc., 2 F. Supp. 2d 330, 336 (W.D.N.Y.
1998). See Sections VI— VIL.

"2 Tn the alternative, although the Domestic Defendants believe there are numerous other
grounds warranting a complete dismissal with prejudice of the amended complaint, should the
Court not agree, then movants request that this Court consider this motion as a Fed. R. Civ. P.
12(e) Motion for a More Definite Statement, because relator's pleading is so vague and

conclusory that the Domestic Defendants cannot reasonably be required to frame a responsive
pleading.

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claims on behalf of the United States under the FCA. “A person may bring a civil action for a
violation of section 3729 for the person and for the United States Government.” Id. (emphasis
added). The FCA does not give relators the right to assert common law claims on behalf of the
United States. United States ex rel. Rockefeller v. Westinghouse Elec. Co., 274 F. Supp. 2d 10,
14 (D.D.C. 2003) (and the authorities cited therein); United States ex rel. Phipps v.
Comprehensive Cmty. Dev. Corp., 152 F. Supp. 2d 443, 451-52 (S.D.N.Y. 2001). Accord,
Eastman Kodak, 98 F. Supp. at 140. The relator in this case only asserts standing based upon her
Status as a qui tam relator. Counts V through IX, which are predicated on just such common law
theories, thus should be dismissed.

Counts V through IX are based on common law theories, including “unjust enrichment,”
which is common law and quasi-contractual in derivation, as well as common law recoupment,
common law fraud, disgorgement, imposition of constructive trust, and civil conspiracy. See
also amended complaint, | 1. Relator has no jurisdictional standing to assert any of these
common law theories. The statutory standing extended to relators does not embrace non-F CA
causes of actions: “[w]hile the FCA effects a partial assignment of the government’s damages to
relators, thus conferring standing upon them, it effects no such assignment of non-FCA causes of
action.” United States ex rel. Barrett v. Columbia/HCA Health Care Corp., 251 F. Supp. 2d 28,
37 (D.D.C. 2003) (citing Eastman Kodak). The amended complaint’s invocation in {3 of
supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) is to no avail because there is no
jurisdictional predicate upon which to base supplemental jurisdiction. Therefore, Counts V
through IX should be dismissed, with prejudice.

Nor can relator establish ordinary standing independent of the FCA. In order to bring an
unjust enrichment claim, relator must demonstrate that: (1) she conferred a benefit upon the

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defendant; (2) the defendant knew it was receiving this benefit; and (3) it would be inequitable
for the defendant to retain the benefit. United States v. Bouchey, 860 F. Supp. 890, 894 (D.D.C.
1994). Nowhere in her amended complaint does relator allege any of these three elements —

her sole jurisdictional foundation that is asserted is her status as a qui tam relator. Similarly,
relator has failed to plead any independent jurisdictional basis supporting her common law fraud,

disgorgement, common law recoupment or civil conspiracy allegations. All claims must

therefore be dismissed with prejudice.
IV. FAILURE TO COMPLY WITH ADMINISTRATIVE REGULATIONS,

STANDING ALONE, CANNOT CONSTITUTE A VALID CAUSE OF

ACTION UNDER THE FALSE CLAIMS ACT

Reduced to its fundamentals, the amended complaint alleges ({{ 2; 5-12) nothing more
than a purported violation of the FCA by the Domestic Defendants for failing to comply with
various regulations or statutes promulgated by several government agencies. This is particularly
evident in paragraph 11 which speaks in terms of “regulatory language.” Such allegations
standing alone do not assert a viable claim under the FCA.

It is well established that the mere failure to comply with administrative regulations or
statutes does not constitute a violation of the FCA. Karvelas, 360 F.3d at 234 (“[A]lleged
violations of federal regulations are insufficient to support a claim under the FCA.”); see also
United States ex rel. Hopper v. Anton, 91 F.3d 1261, 1266-67 (9th Cir. 1996), cert. denied, 519
U.S. 1115 (1997) (“Violations of laws, rules, or regulations alone do not create a cause of action
under the FCA”). If this distinction had not been made by the courts, every breach of a federal
contract or regulation would be transformed into a FCA violation. The amended complaint’s

allegations to the contrary have been directly repudiated in numerous FCA actions.

For example, in United States ex rel. Swafford v. Borgess Med. Ctr., 98 F. Supp. 2d 822

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(W.D. Mich. 2000), aff'd, 24 Fed. Appx. 491 (6th Cir. Dec. 12, 2001), cert. denied, 535 US.
1096 (2002), the relator alleged that the defendant failed to comply with certain Health Care
Financing Administration regulations pertaining to reimbursement of venous ultrasound
procedures, and that this failure constituted the submission of a false claim. The District Court
rejected this argument, holding that “the FCA is not an appropriate vehicle for policing technical
compliance with administrative regulations. Mere violations of administrative regulations are
not actionable under the FCA ‘unless the violator knowingly lies to the government about
them.” Jd. at 828 (citations omitted). “Indeed, the FCA is not a regulatory vehicle, and its
scope should not be broadened to include every instance where a claimant fails to comply with
all applicable regulations.” United States ex rel. Riley v. St. Luke's Episcopal Hosp., 200 F.
Supp. 2d 673, 679 (S.D. Tex. 2002), rev’d on other grounds, 355 F.3d 370 (Sth Cir. 2004).

Only under a “false certification theory” of liability, which is “predicated upon a false
representation of compliance with a federal statute or regulation or a prescribed contractual
term,” could a FCA claim be based on breach of federal regulations. United States ex rel. Mikes
v. Straus, 274 F.3d 687, 696 (2d Cir. 2001). But nowhere in the amended complaint does relator
allege the so-called “false certification theory” or that the Domestic Defendants had certified
compliance with pertinent regulations or statutes as a prerequisite to obtaining payment.
Thompson, 125 F.3d at 902. Without such allegations, Counts I — III are rendered legal nullities.
Luckey v. Baxter Healthcare Corp., 183 F.3d 730, 732-34 (7th Cir.), cert. denied, 525 U.S. 1038

(1999). Counts I — III of the amended complaint thus merit dismissal, with prejudice, pursuant to

Rule 12(b)(6).

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V. PARAGRAPHS 5-12 SHOULD ALSO BE DISMISSED BECAUSE THEY
EXCLUSIVELY INVOLVE ALLEGATIONS OF FAILURE TO MAKE
REFUNDS TO NON-GOVERNMENTAL PARTIES.

Paragraphs 2 and 5-12 also are defectively pled, and should be dismissed, because they
assert that the Domestic Defendants failed to make refunds to airline customers, who in this case
are, of course, private parties and not the government. Moreover, the amended complaint also
asserts that false statements, fraudulent inducements, and false claims were made “‘to people who
have forfeited airline tickets and/or had nonrefundable tickets.” Amended complaint, 92. All of
these allegations in J 2 and 5-12 are meaningless under the FCA, because the Act only focuses
upon purportedly false statements and claims submitted to the United States government, which
result in the government being defrauded, not failure to make refunds to private parties. Every
provision of 31 U.S.C. § 3729(a) speaks only in terms of false statements or claims submitted to
the government; see amended complaint, {{ 37 - 38. For the same reason, the allegation
contained in the amended complaint, at §{ 40 - 41, relating to “ticket purchasers” should also be
dismissed. Therefore, any such private claims not relating to the government should be
dismissed with prejudice because they cannot serve as any basis for establishing liability under
the FCA.” Similarly any allegations relating to “foreign charges” imposed by authorities
“outside the United States” (see 4 5(d)) must also be dismissed since they do not relate to the

United States government.

VI. | COUNT III FAILS TO ASSERT A VIABLE SECTION (A)(7)
ALLEGATION AGAINST DOMESTIC DEFENDANTS,

Count III of the amended complaint, found at 47-48, is predicated upon 31 U.S.C.

'3 qq 41 & 42 are the only paragraphs, with the exceptions of Counts I-IV, to allege a
failure to pay the United States amounts to which it was entitled.

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§ 3729(a)(7) of the FCA, the so-called "reverse false claims" provision.'* Count III, however,
fails to state a claim under the FCA, so it must be dismissed under Rule 12(b)(6) for failure to
state a claim.

Section (a)(7) was added in the 1986 amendments to the Act. It seeks to penalize those
who have control of money or property belonging to the United States, and submit false
statements in order to decrease or avoid an obligation to pay or transmit money or property to the
government. That is, an (a)(7) violation is a “reverse” false claim because it does not allege
efforts to fraudulently secure money or property from the government, but rather to avoid or
decrease an obligation to pay money or transmit property to the government.

A claim under § 3729(a)(7) must be based upon a specific “obligation” that was due and
owing to the government as of the time the alleged false claim or document was submitted to the
government. A complaint therefore must allege that “a specific, fixed debt” is due to the United
States. See United States ex rel. Graves v. ITT Educ. Servs., Inc., 284 F. Supp. 2d 487, 509 (S.D.
Tex. 2003) (to sustain (a)(7) cause of action, the complaint must allege that defendant owed “a
specific amount of money” to the government); see also United States ex rel. Coppock v.
Northrup Grumman Corp., 2003 WL 21730668, at *14 (N.D. Tex. July 22, 2003). Such a debt
could arise, for example, from a contract’s liquidated damages provision, a judgment, or a
statutory directive to pay a fixed amount. See, e.g., United States v. PEMCO Aeroplex, Inc., 195

F.3d 1234, 1237 (11th Cir. 1999) (obligation to transmit government property arose from

4 Section (a)(7) allows recovery from any person who “knowingly makes, uses, or
causes to be made or used, a false record or statement to conceal, avoid, or decrease an
obligation to pay or transit money or property to the Government.” The legislative history of the

provision is found at S.Rep. No. 99-345, reprinted in 1986 U.S. Code Cong. and Admin. News
5266, 5283.

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contract); see also United States ex rel. Prawer v. Verrill & Dana, 946 F. Supp. 87, 95 (D. Me.
1996) (“Money is not ‘owed’ without a specific contract remedy, a judgment or an

acknowledgment of indebtedness”).'°

Moreover, the “obligation” owing to the government must be predicated upon some legal
basis other than the FCA claims asserted in the complaint. United States v. O Int’l Courier, Inc.,
131 F.3d 770, 772-3 (8th Cir. 1997). The complaint thus must plead some fixed sum that was
due and owing to the government prior to the defendant’s alleged submission of a purported
false claim or false statement. American Textile Mfrs. Inst., Inc. v. The Limited, Inc., 190 F.3d
729, 734-6 (6th Cir. 1999), cert. denied, 529 U.S. 1054 (2000); see also United States ex rel.
Lamers v. City of Green Bay, 998 F. Supp. 971, 997-98 (E.D. Wisc. 1998), aff'd, 168 F.3d 1013
(7th Cir. 1999) (defendant must have "an immediate, recognizable obligation" to pay the
government). In other words, the obligation to the government must arise from existing legal
duties and not represent merely a potential liability. United States ex rel. Drake v. Norden Sys.,
Inc., 2000 WL 1336497 at *11-12 & n. 8 (D. Conn. Aug. 24, 2000); Graves, 284 F. Supp. 2d at
508.

The amended complaint’s (a)(7) allegations, therefore, are defective as a matter of law.
The amended complaint fails to allege that the Domestic Defendants owe any “obligation” or
specific debt that was due and owing to the government at the time the alleged “false or
fraudulent statements and records” were submitted. Rather, it asserts a speculative theory for

possible future recovery, but does not establish that a debt in a specific amount was due and

'S The Prawer court noted: “In fact, the legislative history twice refers to ‘money

owed.’”'Id. at 95; See also, United States ex rel. Taylor v. Gabelli, 345 F. Supp. 2d 313, 332 n.
108 (S.D.N.Y. 2004).

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owing to the United States at the time of any alleged submissions. Count III thus fails and
should be dismissed. See United States ex rel. Am. Textile Mfrs. Inst., Inc. v. The Limited, Inc.,
1997 WL 33421319, at *5 (S.D. Ohio, Nov. 13, 2997), aff'd 190 F.3d 729 (6th Cir. 1999), cert.
denied, 529 U.S. 1054 (2000).

Allegations pursuant to section (a)(7) also are inappropriate here because the airlines are
merely the collection agents on behalf of the government. The Domestic Defendants’
relationship with the government is thus “purely regulatory,” not economic, and cannot support
an (a)(7) cause of action. United States ex rel. Bain v. Georgia Gulf Corp., 386 F.3d 648, 657
(Sth Cir. 2004); United States ex rel Bahrani v. Conagra, Inc., 338 F. Supp.2d 1201, 1207 (D.
Colo. 2004). The Domestic Defendants did not receive any money or property from the
government that gives rise to an obligation to repay or return it to the government. See, e.g.,
United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 20 F. Supp. 2d 1017 (S.D.
Texas 1998) (interim Medicare reimbursements only become final when the annual cost report is
filed and adjusted; any overpayments must be returned to the government). Because there is no
specific obligation alleged, or existent, Count III must be dismissed pursuant to Rule 12(b)(6).

Vii. COUNTS I AND II SHOULD BE DISMISSED BECAUSE THEY FAIL TO
ALLEGE VIOLATIONS OF 31 U.S.C. § 3729(a)(1) & (2).

Counts I and II of the amended complaint should be dismissed because they fail to allege
viable causes of action under the FCA. Relator has confounded sections 3729(a)(1) and (2) with
section (a)(7), the so-called “reverse” false claims provision, discussed above. Sections (a)(1)
and (2), which have a long history in the Act, deal with false claims or false statements submitted
to the government in order to secure payment from the government. “The difference between
§ 3729(a)(1) and § 3729(a)(2) is that the former imposes liability for presenting a false claim,

while the latter imposes liability for using a false record or statement to get a false claim paid.”
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Jana, Inc. v. United States, 34 Fed. Cl. 447, 449 (1995).

Even a cursory review of Count I (purportedly predicated on section (a)(1)) and Count II
(purportedly based on section (a)(2)) indicates that they allege violations of section (a)(7), not
sections (a)(1) and (2). Paragraph 42 substantiates this conclusion, since it speaks in terms of
“false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money
or property to the Government,” in language drawn directly from section (a)(7). The language of
Counts I and II further substantiates that the amended complaint is only alleging an (a)(7)
violation. For example, {43 and 45 assert: “All defendants, and each of them falsely and
fraudulently as well as knowingly used false records or statements which concealed and
avoided paying debts and transmitted funds owed to the United States.” (emphasis added)
This is exactly the same allegation asserted in Count III of the amended complaint ({ 47) which
ostensibly pleads a violation of section (a)(7). Therefore, Counts I and II should be dismissed
pursuant to Rule 12(b)(6) because they fail to allege violations of sections (a)(1) and (a)(2), and
because they fail to allege a violation of section (a)(7) for the same reasons as detailed above for

Count HI.

VIII. COUNT IV SHOULD BE DISMISSED BECAUSE IT FAILS TO

PROPERLY ALLEGE A CONSPIRACY CAUSE OF ACTION UNDER

THE FCA.

Count IV purports to allege a conspiracy count in violation of 31 U.S.C. § 3729(a)(3). A
properly framed allegation under § 3729(a)(3) must assert: “(1) that the defendant conspired with
one or more persons to have a fraudulent claim paid by the United States, (2) that one or more
conspirators performed any act to have such a claim paid by the United States, and (3) that the
United States suffered damages as a result of the claim.” Bouchey, 860 F. Supp. at 893. See

generally, United States v. President & Fellows of Harvard College, 323 F. Supp. 2d 151, 196

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(D. Mass. 2004).

None of these essential components of a viable (a)(3) allegation is asserted in Count IV.
In fact, the word “conspiracy” does not even appear in the allegations. This paucity of
allegations cannot satisfy § 3729(a)(3). “The essence of conspiracy under the Act is an
agreement between two or more persons to commit a fraud.” United States ex rel. Stinson v.
Provident Life & Accident Ins. Co., 721 F. Supp. 1247, 1259 (S.D. Fla. 1989). Any conspiracy
claim under this section “must be supported by an allegation of an agreement among the parties
allegedly involved in the conspiracy. Absent such an allegation, a claim under 3729(a)(3) is due
to be dismissed for failure to state a claim.” United States ex rel. Sanders v. East Ala.
Healthcare Auth., 953 F. Supp. 1404, 1410 (MLD. Ala. 1996); Stinson, 721 F. Supp. at 1259;
United States ex rel. Durcholz v. FKW Inc., 997 F. Supp. 1159, 1173 (S.D. Ind. 1998). Such an
agreement must be pled because the burden of proof is on plaintiff to establish “[e]vidence of the
alleged agreement to defraud...” Jd.

Therefore, to properly allege a cause of action under Section 3729(a)(3), the amended
complaint must allege “facts showing the existence of an agreement between two or more of the
defendants to defraud the government.” Wilkins ex rel. United States v. Ohio, 885 F. Supp.
1055, 1063 (S.D. Ohio 1995). The instant amended complaint, however, alleges no such
agreement. Therefore, due to relator’s complete failure to properly state an allegation of
conspiracy under the FCA, Count IV must be dismissed pursuant to Rule 12(b)(6). United States
ex rel. El Amin v. George Washington Univ., 26 F. Supp. 2d 162, 165 (D.D.C. 1998).

IX. RELATOR IS FORECLOSED FROM PURSUING ANY CLAIMS FILED
PRIOR TO NOVEMBER 18, 1998.

Relator filed his original complaint on November 18, 2004. Because relator is alleging

violations of the FCA, the statute of limitations provision contained within the FCA controls.
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See 31 U.S.C. § 3731(b). Under § 3731(b)(1), a six-year statute of limitations provision applies
to FCA actions.'° Therefore, under that provision, any allegations relating to the Domestic
Defendants’ claims or documents filed with the government prior to November 18, 1998 are
statutorily time-barred. See United States v. Entin, 750 F. Supp. 512, 517-18 (S.D. Fla. 1990)
(FCA statute of limitations begins to run once a claim for payment is submitted to the United
States).

In 1986, the FCA was amended to include a second statute of limitations provision,
§ 3731(b)(2).!” By its very language (“by an official of the United States”), however, it is
evident that this provision is not meant to be applicable in qui tam cases where the government
has declined to intervene. See, e.g., United States ex rel. Capella v. Norden Sys., Inc., 2000 WL
1336487, at * 12 (D. Conn. Aug. 24, 2000); George Washington Univ., 26 F. Supp. 2d at 172.
Since the government declined intervention in this action, this provision does not allow relator in
the present case to extend the six-year period specified by § 3730(b)(1). Therefore, the
alternative statute of limitations contained in section (b)(2) does not apply and, contrary to the
allegation contained in paragraph 39 of the amended complaint, any claims arising before the

November 18, 1998 date must be dismissed with prejudice.

© Sec. 3731(b)(1) reads: “A civil action under section 3730 may not be brought:

(1) more than 6 years after the date on which the violation of section 3729 is committed....”
(Supp. 2002).

'’ A civil action under section 3730 may not be brought:
(2) more than 3 years after the date when facts material to the right of action are
known or reasonably should have been known by the official of the United States

charged with responsibility to act in the circumstances, but in no event more than
10 years after the date on which the violation is committed, whichever occurs last.

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CONCLUSION

For the reasons stated above, the Domestic Defendants respectfully request that the Court

dismiss the amended complaint in its entirety with prejudice and award their reasonable

attorneys fees and costs as incurred herein, and such other and further relief as the Court deems

appropriate.

Dated: February 13, 2006

Respectfully submitted,

2 hike,

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CERTIFICATION OF SERVICE
I certify that on this 13th day of February, 2006, I caused to be placed in the United
States mail (first-class mail, postage prepaid), copies of MOTION TO DISMISS AND

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS by the Domestic Defendants as

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